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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 BRISTOL MYERS SQUIBB COMPANY,

                Plaintiff,
         v.                                          Case No. 1:24-cv-03337-DLF

 ROBERT F. KENNEDY, JR., et al.,

                Defendants.




                                    [PROPOSED] ORDER

       Upon consideration of the unopposed Motion for Leave to File Amici Curiae Brief of State

and Regional Hospital Associations, it is hereby ORDERED that the Motion is GRANTED. The

Clerk shall cause the Brief of State and Regional Hospital Associations as Amici Curiae in Support

of Defendants, attached as Exhibit A to their Motion, to be filed and entered on the docket in the

above-captioned proceeding.

       IT IS SO ORDERED.


       This ______ day of _____________, 2025.

                                                    ______________________________

                                                    Hon. Dabney L. Friedrich
                                                    United States District Judge
